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                        UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF CONNECTICUT

SAIFULLAH KHAN,

         Plaintiff,
V.                                                   Case No. 3:19-cv-01966 (KAD)

YALE UNIVERSITY, ET AL.

         Defendants                                  April 5, 2024


MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF'S MOTION TO VACATE
  ORDER TO LITIGATE CLAIMS AGAINST JANE DOE USING PSEUDONYM

         The undersigned defendants (the "Yale defendants") oppose the plaintiffs Motion to

Vacate the Court's Order granting pseudonym protection to the defendant, Jane Doe (Doc. 89,

Mr. Khan's Motion to Vacate Order Treating Jane Doe Pseudonymously). In December 2019,

the plaintiff moved to have Jane Doe's identity protected (Doc. 7, Motion for Permission to

Litigate Claims Against Jane Doe Using a Pseudonym in Place of Her Actual Name). The Yale

defendants filed a Memorandum of Law in Support of that Motion (Doc. 9) and now incorporate

by reference those arguments into this Memorandum in Opposition, as if fully set forth herein.

See, Exhibit 1, Memorandum of Law In Support of Plaintiffs Motion for Permission to Litigate

Claims Against Jane Doe Using a Pseudonym in Place of Her Actual Name.

        The Court granted the Motion to Proceed Pseudonymously by Order dated January 10,

2020 (Doc. 12). In doing so, the Court considered this Circuit's non-exhaustive list often factors

to determine whether a party should be allowed to proceed under a pseudonym. Specifically, the

Court "based its ruling upon consideration of the [1] inherently sensitive and personal nature of

the issues raised in this litigation, [2] the parties' acknowledgment of the Defendant Yale

University's applicable policies concerning confidentiality, [3] the risk of harm and the absence




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of prejudice to the litigants, [4] the lack of an alternative procedure for maintaining Jane Doe's

confidentiality, and [5] other relevant factors, see Sealed Plaintiff v. Sealed Defendant, 537 F.3d

185, 189-90 (2d Cir. 2008)." (Doc. 12.)

         Nothing has changed since the Order that warrants reversal of it. The case remains of a

"inherently sensitive and personal nature"; the University continues to have policies protecting

confidentiality of Title IX proceedings; the harm to Jane Doe has not lessened over the years; the

plaintiff has not made any arguments of prejudice; and there is no viable alternative procedure

that would maintain Jane Doe's confidentiality. See also, Ex. 1, Memorandum of Law in Support

at 2-5, setting forth arguments on the various factors in support of proceeding pseudonymously.

         Instead, the plaintiff now argues that the Connecticut Supreme Court's decision was "eye

opening" for him when the Court observed that the University's disciplinary reach extended only

to students, and that this Supreme Court's observation has rendered "moot" the confidentiality

obligation under university policy. See Doc. 89, Motion to Vacate at 1 ("Ms. Doe, the

Connecticut Supreme Court noted in a related ruling, is no longer a student at the University, and

is therefore not bound by obligations arising under the University's Honor Code. Mr. Khan

contends that any obligation to keep information about Ms. Doe confidential is also now moot.");

("The Connecticut Supreme Court's decision regarding Ms. Doe's immunity claim was eye-

opening for Mr. Khan and should be to this Court as well .... [A]n obligation to treat her

pseudonymously arising under university regulations evaporated when her status as a student

expired.") id. at 3.

        This argument is nonsensical at best and disingenuous at worst. First, the plaintiff knew

in December 2019 when he filed his Motion to Proceed Pseudonymously that he and Jane Doe

were no longer students at the University. More importantly, he unequivocally knew then that the



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University's disciplinary reach extended only to members of the school community. See Doc. 7,

Plaintiff's Motion to Proceed Pseudonymo'1sly at 3-4 ("Mr. Khan is no longer a member of the

Yale University community due to his expulsion so the obligation to keep the UWC information

confidential would not apply to him under ordinary circumstances .... However, if Mr. Khan

rejoins the Yale University as he seeks to do via a negotiated return with Yale University or an

injunction from the Court, this provision would apply to him."). His stated reason in the Motion

to Vacate, therefore, cannot be credited.

         The more likely reason the plaintiff seeks to vacate the Order is that his desire to extract

retribution from Ms. Doe has overshadowed his desire to return to the University community.

The District Court raised a concern about the plaintiffs motives at the hearing on the Motion to

Dismiss on March 18, 2024. There, when discussing the social media posts that underlined the

Motion to Dismiss, the Court expressed concern because "some of the tenor and tone of the posts

feel less like his plan is to have his rights vindicated as it is to extract retribution, and that is not

the purpose of the use of our courts or litigation generally." Exhibit 2, Hearing Transcript, March

18, 2024, at 8-9. Instead of assuaging that concern, plaintiff's counsel confirmed that the plaintiff

wants Ms. Doe "to feel what he has felt. ... He does want retribution. His future was stolen from

him." Ex. 2, Transcript at 11. Retribution, however, is not a reason for vacating an order of

pseudonymity.

        Next, the plaintiff incorrectly argues that the defendant's reliance on Federal Educational

Rights and Privacy Act (FERPA) is misplaced. Doc. 89, Motion to Vacate at 5. While the

plaintiff properly recognizes that FERPA's scope is broad, he argues that a "better reading" of

FERP A "excludes protection of information gathered by a university when it investigates what

amounts to criminal conduct." Id. at 6. Essentially, the plaintiff argues that disciplinary records



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should not fall within FERP A's purview. Plaintiff cites to no support for his "better reading"

because no support exists. See Doe v. Massachusetts Institute ofTechnology, 46 F.4th 61, 74 (1 st

Cir. 2022) ("Student disciplinary records typically fall under this protective carapace" of

FERPA); US. v. Miami University, 294 F.3d 797, 812 (6 th Cir. 2002) ("Under a plain language

interpretation of the FERPA, student disciplinary records are education records because they

directly relate to a student and are kept by that student's university.").

         The recent decision from the Court of Appeals for the First Circuit is directly on point. In

Doe v. Massachusetts Institute of Technology, supra, the plaintiff sued his former university

alleging breach of contract, inter alia, on the ground he was wrongly expelled following an

allegedly biased investigation of a nonconsensual sexual conduct claim against him. The plaintiff

moved to proceed with a pseudonym in place of his actual name. MIT objected and the district

court denied the plaintiffs motion. The plaintiff appealed. The First Circuit vacated the district

court's order and remanded the case under its newly articulated methodology that considered

four "paradigms" of exceptional cases that warrant anonymity. Doe v. MIT, 46 F.4th at 71-73.

         In doing so, the First Circuit squarely addressed the confidentiality of Title IX

disciplinary proceedings. Id. at 74. "In a nutshell, both Congress and the Executive Branch have

given careful thought to the proper conduct of Title IX proceedings." Id. The First Circuit

recognized that, by enacting FERP A, Congress sought to prevent educational institutions from

unilaterally disclosing "sensitive information about students," subject to certain exceptions

enumerated in FERPA. Id., citing, Owasso Indep. Sch. Dist. No. 1-001 v. Falvo, 534 U.S. 426,

428, 122 S.Ct.934, 151 L.Ed.2d 896 (2002).

        In addition to the protections afforded by FERPA, the First Circuit acknowledged that the

Title IX regulations also protect this sensitive information. "So, too, the Department's



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regulations implementing Title IX require universities to 'keep confidential the identity of any

individual who has made a report or complaint of sex discrimination ... subject to a few

exceptions (such as the FERPA exceptions)." Id., at 74-75, citing, 34 C.F.R. § 106.71.

         In short, the Court concluded that "it is evident, we think, that federal law aims to keep

such proceedings largely under wraps." Id. at 75; see also Doe 1 et al v. Starpoint Central School

Dist., Docket No. 23-cv-207-LJV, 2023 WL 2752509 at n. 2 (W.D.N.Y. Apr. 3, 2023) ("In Doe,

for example, the First Circuit found that the protections of Title IX and FERPA weighed in favor

of keeping a plaintiffs name anonymous .... So the First Circuit protected the privacy interests

at stake by allowing a plaintiff to proceed by pseudonym, and this Court can do the same, or

something similar, here.")

         The final reason the plaintiff offers to vacate the Order is that his acquittal by a criminal

jury of criminal charges somehow negates any reason to have Jane Doe continue to proceed

anonymously. See Doc. 89, Motion to Vacate at 1-2, 7. First, the plaintiff was acquitted by a

criminal jury before he filed suit; therefore, that acquittal offers nothing new to vacate the Order

granting pseudonymity. Second, courts have recognized the important public interest in

protecting the identities of individuals who report claims of sexual assault on campuses. Ex. 1,

Memorandum of Law in Support at 5. Third, the acquittal establishes only that a criminal jury

found that the state had not proven its case beyond a reasonable doubt. Indeed, when counsel for

Ms. Doe raised a concern over the plaintiffs assertions of vindication at the March 25 hearing,

the District Court agreed and stated, "[t]his case is going to be decided on the basis of the

allegations, presumably to a jury who will have to make a determination not beyond a reasonable

doubt, but by a preponderance of the evidence whether or not it was a false accusation." Ex. 2,

Hearing Transcript at 13-14. Any argument to the contrary cannot stand.



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        In conclusion, the plaintiff has failed to offer any basis, legal or factual, to vacate the

Order of Pseudonymity. While the plaintiff may have had a change of heart, the compelling

reasons for granting the Order have not changed. For all these reasons, and those articulated in

their Memorandum of Law in Support of the Motion to Proceed Pseudonymously, the

undersigned defendants oppose the plaintiffs Motion to Vacate.



                                                THE DEFENDANTS,
                                                YALE UNIVERSITY, PETER SALOVEY,
                                                JONATHANHOLLOWAY,MARVINCHUN,
                                                JOE GORDON, DAVID POST, MARK
                                                SOLOMON, ANN KUHLMAN, LYNN COOLEY,
                                                PAUL GENECIN, STEPHANIE SPANGLER,
                                                SARAH DEMERS, AND CAROLE GOLDBERG



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                               CERTIFICATION OF SERVICE
        I hereby certify that on April 5, 2024, a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the Court's electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court's CM/ECF System.




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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF CONNECTICUT

SAIFULLAH KHAN

         Plaintiff                                                            CIVIL ACTION NO.:
                                                                              3: 19-cv-0 1966-AVC
vs.

YALE UNIVERSITY, ET AL

         Defendants                                                           JANUARY 2, 2020

        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S MOTION FOR
    PERMISSION TO LITIGATE CLAIMS AGAINST JANE DOE USING A PSEUDONYM
                       IN PLACE OF HER ACTUAL NAME

         The undersigned defendants submit this memorandum of law in support of the plaintiffs

Motion for Permission to Litigate Claims Against Jane Doe Using a Pseudonym in Place of Her

Actual Name ("Motion"). The defendants in no way adopt the factual assertions or legal arguments

made in the plaintiffs Motion, but only support the requested relief, i.e., permission to use the

pseudonym Jane Doe to refer to the female student defendant at all times during the pendency of

this action.

        In support of his motion, the plaintiff cites the Second Circuit's decision in Sealed Plaintiff

v. Sealed Defendant, 357 F.3d 185 (2d Cir. 2008). District courts in the Second Circuit have

considered the factors listed by the Second Circuit in Sealed Plaintiff when determining whether

to allow the use of a pseudonym in cases involving allegations of sexual assault by college

students. See, Doe v. Smith, 2019 U.S. Dist. LEXIS 205707 (N.D.N.Y. November 27, 2019); 1

Doe v. Vassar College, 2019 U.S. Dist. LEXIS 196933 (S.D.N.Y. November 13, 2019); Doe v.

Colgate Univ., 2016 U.S. Dist. LEXIS 48787 (N.D.N.Y. April 12, 2016). An analysis of all the


1
 In Doe v. Smith, the Court permitted both the plaintiff student and defendant student to proceed pseudonymously.
Doe v. Smith, 2019 U.S. Dist. LEXIS 205707, n. 1 (N.D.N.Y. November 27, 2019).



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factors set forth in Sealed Plaintiff. which are relevant to the present case, militate in favor of

permitting the present plaintiff to refer to the female student defendant using a pseudonym.

           Whether the Litigation Involves Matters that are Highly Sensitive and ofa Personal Nature

           This action involves allegations that the defendants mishandled its investigation of Jane

Doe's complaint asserting that the plaintiff had sexually assaulted her in violation of the

University's Sexual Misconduct Policies and improperly expelled him from the University. The

district court in Doe v. Vassar College, 2019 U.S. Dist. LEXIS 196933 *4 (S.D.N.Y. November

13, 2019), concluded that allegations of this nature were highly sensitive and of a personal nature:

"The allegations in the complaint concern the actions of a private educational institution

concerning its handling of an alleged sexual assault. Allegations of sexual assault are generally

inherently sensitive and private in nature." The district court in Doe v. Smith, 2019 U.S. Dist.

LEXIS 205707 *3 (N.D.N.Y. November 27, 2019), similarly concluded that the necessity of a

detailed discussion of the particular sexual encounter alleged in the complaint weighed in favor of

permitting the use of a pseudonym. The present action will necessarily involve the publication of

the details of the sexual encounter between the plaintiff and Jane Doe on Halloween night in 2015.

The use of a pseudonym will protect Jane Doe's confidentiality, which is consistent with the intent

of the Family Educational Rights and Privacy Act and the purpose of Yale University's policy of

confidentiality2 in complaints brought to the University-Wide Committee on Sexual Misconduct

("UWC"), the committee at the University that investigates complaints of sexual misconduct.

Since this action involves allegations that are highly sensitive and of a personal nature, this factor

weighs in favor of permitting the plaintiff to refer to the female student defendant by the

pseudonym of Jane Doe.


2
    The University's Statement on Confidentiality ofUWC Proceedings is attached to the plaintiffs Motion as Exhibit
2.

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         Whether Identification Poses a Risk of Retaliatory Physical or Mental Harm to the Party
         or to Innocent Non-Parties

         The district court in Doe v. Vassar College, 2019 U.S. Dist. LEXIS 196933 *4 (S.D.N.Y.

November 13, 2019), observed that public disclosure o~ the victim's identity in a case alleging

sexual assault by a fellow student could result in psychological trauma for the victim. Given this

potential risk, this factor weighs in favor of referring to the female student defendant as Jane Doe.

         Whether Identification Presents Other Harms and the Likely Severity of Those Harms

         The district court in Doe v. Colgate, 2016 U.S. Dist. LEXIS 48787 *6 (N.D.N.Y. April 12,

2016), observed: "Recently, cases stemming from investigations of sexual abuse on college and

university campuses have garnered significant media attention, posing the risk of further

reputational harm to both the plaintiffs in these cases and their accusers." The district court

concluded that "protecting the anonymity of sexual assault victims and those accused of

committing sexual assault can be an important safeguard to ensure that the due process rights of

all parties are protected." Id. at *6-7. The present action has already received wide publicity, as

articles were published by the Yale Daily News, Connecticut Law Tribune, Hartford Courant,

Connecticut Post, New York Post, Fox 61, as well as several other media outlets,3 within days of

the filing of the complaint. Clearly, this factor weighs in favor of granting the plaintiff's Motion.

         Whether Another Party Would Be Prejudiced by Allowing One of the Defendants to Be
         Protected by a Pseudonym

         The defend ants agree that the use of a pseudonym to identify the female student defendant

is appropriate in this action; and her lawyer has informed defense counsel that she would prefer to


3
  See, https://yaleda ilynews.com/blog/2019/12/20/khan-files-suit-against-yale/;
https://www.law.com/ctlawtribune/2019/12/ 13/game-on-acguitted-of-rape-ex-student-sues-yale-un iversity-for- l I0-
million/ ; https://www.courant.com/news/connecticut/hc-news-yale-sexual-assault-lawsuit-2019 I213 -
ehcs6gqtjrcrh lvol7 z7 t5sjo4-story .htm I; https://www .ctpost.com/news/article/Fonne-r-Yale-student-acquitted-of-rape-
sues- I4907049 .php; https://nvpost.com/2019/ 12/ 16/former-ya le-student-acguitted-of-rape-sues-university-for-
l 10ml; https://fox6I .com/2019/12/ 13/former-yale-student-acguitted-of-sexual-assau lt-sues-school-for- I I 0-mil lion/.
This is a non-exhaustive list of the publications concerning the plaintiffs lawsuit over the past two weeks.

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preserve her confidentiality, as was done in the criminal trial. 4 None of the parties will suffer

prejudice if the plaintiffs Motion is granted, because the identity of the female student who

brought a complaint of sexual misconduct against the plaintiff is known to all parties. Therefore,

this factor weighs in favor of permitting the use of a pseudonym for the female student defendant.

See, Doe v. Vassar College, 2019 U.S. Dist. LEXIS 196933 *4-5 (S.D.N.Y. November 13, 2019)

("Defendant would not be prejudiced by permitting the Plaintiff to proceed by use of a pseudonym

and such use would not only protect the confidentiality of the plaintiff, but, more importantly, also

protect the confidentiality of the victirri."); Doe v. Smith, 2019 U.S. Dist. LEXIS *5 (N.D.N.Y.

November 27, 2019) (court did not identify any prejudice to defendant if plaintiff used a

pseudonym because "Defendant knows Plaintiffs identity, and so his ability to conduct discovery

will not be impeded, and will only practically be inconvenienced by having to take measures to

avoid disclosing Plaintiffs identity publicly."); Doe v. Colgate Univ., 2016 U.S. Dist. LEXIS

48787 *10 (N.D.N.Y. April 12, 2016) ("Defendants are aware of Plaintiffs true identity and will

have an uninhibited opportunity to litigate this matter regardless of whether Plaintiffs identity is

disclosed publicly.")

         Whether the Party's Identity Has Thus Far Been Kept Confidential

         As noted by the plaintiff, the female student defendant's name was kept confidential during

the pendency of the criminal proceedings and during the University's investigation of her

complaint of sexual misconduct, pursuant to the University's policy on confidentiality of such

complaints. This factor weighs in favor of permitting the use of a pseudonym.




4
  Of course, Yale University was not a party to the criminal proceedings, and therefore did not have any role in
preserving confidentiality in that proceeding. As is always true in disputes involving students, the University would
have preferred that the identity of both students be protected.



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         Whether the Public's Interest in the Litigation is Furthered by Requiring Disclosure of the
         Party's Identity

         The public's interest in the litigation is not furthered by disclosing the identify of the female

student defendant. In fact, one district court has noted: "Courts have recognized the important

public interest in protecting the identities of sexual assault victims to ensure that other victims

would not be deterred from reporting similar crimes." Doe v. Vassar College, 2019 U.S. Dist.

LEXIS 196933 *4 (S.D.N.Y. November 13, 2019). Since the use of pseudonyms for victims of

sexual assault is in the public interest, this factor weighs in favor of granting the plaintiff's Motion. 5

         Whether there is an Atypically Weak Public Interest in Knowing the Litigant's Identities

         As noted above, it is in the public's interest to protect the identities of sexual assault

victims. See, Doe v. Vassar College, 2019 U.S. Dist. LEXIS 196933 *4 (S.D.N.Y. November 13,

2019). Therefore, this factor also weighs in favor of granting the plaintiff's Motion.

         Whether there are Any Alternative Mechanisms for Protecting the Confidentiality of the
         Party

         The defendant submits that there are no alternative mechanisms for protecting the female

student defendant's confidentiality.

                                                CONCLUSION

         While the defendants do not agree with the plaintiff's recitation of the facts or the legal

arguments presented in support of his Motion, the defendants nevertheless join in the plaintiff's

request for permission to identify the female student defendant by the pseudonym Jane Doe at all


5
  The University's policy on confidentiality recognizes the importance of encouraging parties and witnesses to report
sexual misconduct: "The purpose of confidentiality [in UWC proceedings] is to encourage parties and witnesses to
participate in UWC proceedings and share all the pertinent information they have to offer, which is essential to
reaching a fair outcome. If parties or witnesses fear that their participation or testimony in a UWC proceeding could
be revealed, then concerns about reputation, social tension, or retaliation may cause them to keep silent. Every
member of the University community should recognize that breaches of confidentiality hurt the participants and have
the potential to erode respect for the UWC process." (Ex. 2 to Pl.'s Motion.)

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times during the pendency of this action.




                                                      THE DEFENDANTS,

                                                      YALE UNIVERSITY,
                                                      PETER SALOVEY, JONATHAN
                                                      HOLLOWAY, MARVIN CHUN,
                                                      JOE GORDON, DAVID POST, MARK
                                                      SOLOMON, ANN KUHLMAN, LYNN
                                                      COOLEY, PAUL GENECIN,
                                                      STEPHANIE SPANGLER, SARAH
                                                      DEMERS, AND CAROLE GOLDBERG


                                                 BY: Isl Patrick M. Noonan
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                                        CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court's electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court's CM/ECF System.



                                                                      Isl
                                                                Patrick M. Noonan




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                        EXHIBIT2
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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT



     SAIFULLAH KHAN,
                       Plaintiff,         No: 3:19-cv-1966-KAD

          v.                              March 18, 2024
     YALE UNIVERSITY, ET AL.,
                     Defendants.          9:57 a.m.

                                    Brien McMahon Federal Building
                                    915 Lafayette Boulevard
                                    Br i dgeport, CT 06604




                                MOTION HEARING




     BEFORE:
          THE HONORABLE KARI A. DOOLEY, U.S.D.J.




     Courtroom Deputy:                          Official Court Reporter:
     Kristen Gould, Esq.                        Tracy L. Gow, RPR

                           Chambers: 203.579.5522
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                                                                      2


 1     APPEARANCES:
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            860-392-5036
14          Email: bgooley@carltonfields.com
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15
       Also Present:
16          SAIFULLAH KHAN, Plaintiff

17

18

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                                                                               3


 1                 (Call to Order, 9:57 a.m.)

 2                 THE COURT:    All right.    Good morning, everybody.       We

 3     are here on the matter of Khan v. Yale University, et al.

 4                 Counsel, please identify yourselves for the record.

 5                 MR. PATTIS:      Norm Pattis, on behalf of Mr. Khan,

 6     Judge.

 7                 THE COURT:    Good morning, Mr. Pattis.      It's been a

 8     while.

 9                 MR. PATTIS:      Good morning, Judge.    Good to see you.

10                 Yeah, I know .     I was just saying to my colleagues

11     that I hadn't been in this building since before the

12     pandemic.

13                 THE COURT:    It's

14                 MR. PATTIS:      And I've missed it.    So it's good to be

15     back.

16                 THE COURT:    Welcome back, Mr. Khan.

17                 MR. GOOLEY:      Your Honor, Brendan Gooley, on behalf

18     of Defendant Jane Doe.         With me is Attorney Jim Sconzo; and

19    Attorney Giovanna Weller, who represents Yale.

20                 MR. SCONZO:      Good morning, Judge.

21                 MS. WELLER:      Good morning, Your Honor.

22                 THE COURT:    All right.    I had scheduled oral

23    argument on Jane Doe's Motion to Dismiss that is premised

24     largely on Mr. Khan's disclosing of her identity on social

25    media and some activity that flowed from that.
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 1                Since then, I think other -- the issues that are

 2     probably implicated a little bit in the Motion to Dismiss

 3     have been the subject of a additional motions, which we are

 4     not taking up today, and that is Jane Doe's motion for a

 5     protective order, restricting and limiting Mr. Khan's access

 6     to and use of certain information, as well as a motion by Mr.

 7     Khan to remove the pseudonym of Jane Doe, largely because the

 8     reasons he had sought the pseudonym at the beginning was out

 9     of respect or concern for Yale's Title IX procedure, which is

10     no longer a concern.

11                We're not going to resolve those issues today, and I

12     think I'm going to ask -- first of all, they're still being

13     briefed.    And once they are fully briefed, or maybe even

14     before they're fully briefed, I'm going to ask that all of

15     those issues be taken up by one of our magistrate judges, who

16     will in due course.

17                Turning back to the Motion to Dismiss.        I think some

18    procedural background is helpful.         As I indicated, Mr. Khan

19    had filed, initially, the request for a pseudonym for Jane

20     Doe at a time when he indicated he was still perhaps

21    interested in pursuing and returning to Yale to get his

22    degree.     And out of recognition of their Title IX procedures

23    and the confidentiality of those procedures, he sought a

24    pseudonym for Jane Doe.

25                He analyzed the factors, the Second Circuit factors,
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 1     from "In re: Sealed Plaintiff" sort of through his lens,

 2     through his eyes, and how those factors impacted .his

 3     interest.

 4                 Ordinarily, when a pseudonym is being contemplated,

 5     it's through the interest for the person for whom the

 6     pseudonym is going to be used.       And, so, Yale chimed in on

 7     the motion for a pseudonym, and agreed, but sort of did it

 8     through the eyes of Jane Doe as the accuser in the Title IX

 9     proceedings.

10                 And I granted the motion and ordered that all

11     pleadings and references to Jane Doe would use that

12     appellation throughout the litigation.

13                 That was the only order I had entered.       Jane Doe had

14     not appeared at that time.       There was no request for a

15     protective order in terms of the use of her name, and I

16     certainly didn't sua sponte issue a prior restraint with

17     respect to anybody as to Jane Doe's identity.

18                 So, with that background, I don't think -- and you

19     can tell me why I'm wrong -- I don't think that there would

20     be a basis at this juncture to dismiss the claims that Mr.

21     Khan brings for violating the Court's order; and if I've

22    missed something or there's an order there that did what I

23     created a situation where he would be precluded from doing

24     what he has since done, then, by all means, share that with

25    me.   But I don't see that on this docket.
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 1               That said, I do have some concerns.         Attorney

 2     Sconzo.

 3               MR. SCONZO:     Thank you, Your Honor.      Good morning.

 4               I hear what Your Honor says, but the consequence of

 5     that would be that any litigant, then, could obtain such an

 6     order and basically go worldwide and disseminate the name of

 7     the person for whom they seek anonymity in this court.           So

 8     there'd be no reason for the order, so to speak.

 9               And I would say this, too, that before

10               THE COURT:    But the protection that it affords is in

11     the confines of the litigation and public access to the

12     docket and who can look at the docket and know who the

13     players are.

14               I have not found a single case that says an

15     anonymity order serves as a prior restraint.          I just haven't

16     found it, Attorney Sconzo.

17               MR. SCONZO:    I would say this, Judge.       Well, I think

18     that's how the parties in this district have always viewed

19     this -- and, in fact, before what Mr. Khan did, Attorney

20     Pattis and I had been speaking candidly with each other, and

21    he had said, Jim, you know, we're going to move to remove

22    that order; and I said, in effect, Sure, you know, do what

23    you need to do, we'll respond to it.

24               So I think, in candor, even Attorney Pattis would

25    have to concede that nobody envisioned once this order
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 1     attached, that a litigant could take an end-run and

 2     disseminate a name for whom they sought anonymity in this

 3     case.

 4               So, I do understand what Your Honor is saying, and I

 5     do understand that you did not make an order against prior

 6     restraint.    But the disclosure of the name in this case came

 7     after Mr. Khan sought anonymity of the name and the

 8     disclosures, as we've shown, Your Honor, all related to

 9     litigation.    It's not as though he wrote some poem with her

10     name in it.    His disclosures are all defined by this

11     litigation and directed to this litigation.

12               So it seems to me, if there's no sanction for this,

13     then any litigant who obtains such an order will just ignore

14     it and go and say, Well, I didn't file a pleading so I can

15     use that name wherever I want.

16               MR. PATTIS:    May I address the Court, Judge?

17               THE COURT:    You may.

18               MR. PATTIS:    This is going to be a long piece of

19     litigation, and I think that our candor toward you and

20     respect to one another matters, because this is our first

21     time before you.

22               Everything Attorney Sconzo said is true.         I have

23     represented Mr. Khan since 2015, since he was first arrested,

24     I represented him in the 2018 trial and we've presented him

25    through the various appellate proceedings.          It is I who
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 1     drafted the complaint.      It is I who sought the protective

 2     order on his behalf.      And it was our understanding at that

 3     time that we would be governed by Yale process, as it were,

 4     which was to keep anonymity of the complainant.          And,

 5     frankly, it was the Supreme Court's decision that sort of --

 6     and it's conclusion about the application of the honor code

 7     to her -- to Jane Doe, that tipped the balance.

 8               It was my expectation that we were going to file

 9     something with this Court.       In listening to you, I'm

10     thinking, Jeez, I'm not half as good a lawyer as I thought

11     because that was a defense that wasn't raised, but it's

12     because it was an issue I didn't

13               THE COURT:    Slow down.

14               MR. PATTIS:     It was a defense I didn't raise because

15     it's an issue I didn't see.       I saw it as Attorney Sconzo did,

16     and I did provide him notice that we would be seeking relief

17     from the order.

18               So I appreciate the Defense, and I appreciate the

19     concern about prior restraints, but I was operating as though

20     the order applied where it may not have, and I wanted you to

21     hear that from me.

22               THE COURT:    Okay.   Thank you.

23               I'll circle-back to where I was.        What I have seen

24     does give me concern about what's going on here, and some of

25     the things that Mr. Khan has done that give me pause.
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 1     Because some of the tenor and tone of the posts feel less

 2     like his plan is to have his rights vindicated as it is to

 3     exact retribution, and that is not the purpose of the use of

 4     our courts or litigation generally.

 5               When he has posted about the litigation and talking

 6     about attending depositions, there is a sense of an intent to

 7     intimidate.    There is a sense of an intent to harass.        The

 8     idea of sort of mobilizing the Internet -- I mean, this is

 9     borderline doxing, and it's very concerning.

10               The flipside of this -- I know that we have -- Mr.

11     Khan has an interest, if I'm reading these attachments

12     correctly, in challenging the structure of Title IX

13     proceedings generally, separate and distinct from this

14     litigation.

15               And I guess I would ask Attorney Sconzo or Attorney

16     Gooley, the motion for protective order that you filed, that

17     sort of seeks to achieve essentially what you're arguing

18     should have been or already was in place.         Is that a fair

19     statement?

20               MR. SCONZO:    Well, partly, Your Honor.       I think that

21    motion did not address the dissemination of the name, but

22    that motion addressed the dissemination of disclosures made

23    in discovery.     So the name issue still, I think, remains the

24    largest concern.

25               THE COURT:    And that issue is teed up with
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 1     plaintiff's motion.      You would agree with that, I assume?

 2                MR. SCONZO:    I would agree with that.       I would also

 3     agree with, we have a lot more to say on that.

 4                THE COURT:    Okay.   Attorney Pattis, what is your

 5     client's plan?

 6                MR. PATTIS:    When I have talked to Mr. Sconzo, to

 7     alert him we'd be filing a motion, it was my belief that we

 8     would be filing a motion, and I was awaiting some instruction

 9     from Mr. Khan.     And I have permission to discuss this with

10     you.

11                His disclosure surprised me, and I think the word I

12     used in one of my pleadings was "flummoxed," and led to

13     discussions between he and I about whether the

14     attorney-client relationship would continue, because my view

15     is that orders of the court are orders of court, and I

16     construed it strictly, and in ways that perhaps the Court

17     doesn't think are necessarily justified on the pleadings.

18     But that's how I saw it.

19                He, and for good reason, regards himself as the

20     victim in this case, not Jane Doe.        They had a consensual

21     experience, a jury vetted it, and Mr. Khan has been deprived

22     of the promise that Yale made him for a bright future in the

23     country of his adoption by using a procedure that might best

24     be described as a "kangaroo court," and encouraging and

25     enabling a young woman to come forth and lie about him to the
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 1     world, and now she seeks the protection for the consequences

 2     of her action.

 3                 Now, the Court may say that his purpose is revenge

 4     and revenge is inappropriate.        Accountability is not.     And to

 5     the degree that he will seek punitive damages, those are to

 6     punish and deter, and deterrence is a uniquely personal

 7     function.

 8                 So I think he wants her to feel what he felt.        What

 9     it was to have every publication that reports on things like

10     that, like Time Magazine reported him to be a rapist, when,

11     in fact, what he did was engaged in what one headline writer

12     called "messy sex."      And sex, typically, when it's consensual

13     among people above a certain age, may be messy, but it's not

14     a crime.

15                 And, so, for reasons of her own, and for reasons of

16     a highly-mobilized political group, Mr. Khan was held out to

17     be a criminal and had to fight for his liberty, and he won.

18     And when he went back to Yale, the anger was mobilized and

19     they forced him to the street, and he's lost the promise.           I

20     remind you, he was recruited from a refugee camp in

21     Pakistan -- or Afghanistan, rather -- and came to the United

22     States, educated at Yale's expense.        He does want

23     retribution.     His future was stolen from him.

24                 Now, having said that, I'm in a tough spot on the

25     "prior restraint" issue because I don't think this does come
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                                                                               12


 1     close to doxing, and I know a lot about that from the Alex

 2     Jones case in the state court, where there is a new theory in

 3     the defamation cases called "stochastic terrorism," which is,

 4     in an interconnected digital universe, a defamatory remark

 5     placed in the right context will inflame the online world.

 6                You know, I don't see that Mr. Khan is responsible

 7     for the interest the public has taken in this case.             The

 8     interest the public has taken in this case goes to the very

 9     injury or the harm he's suffered.        In the eyes of many, he's

10     a rapist because she said he was, and it's never been shown.

11                So I hear what you're saying, Judge.        What we've

12     come to court -- Mr. Khan has recently had jaw surgery.               He's

13     able to speak.     It's a little difficult.       I told him to

14     expect a rebuke from the Court and to be put -- that he would

15     be placed on notice that further misuse of court material

16     would not be tolerated and would come with consequences.

17                I hear the Court saying that it may not be prepared

18     to drop that hammer yet.       But I think his intentions are to

19     fully and fairly --

20                THE COURT:    Still thinking about it.

21                MR. PATTIS:    Well, I hear you.

22                But, I mean, I think that his intentions -- finally,

23     to answer your question -- are to fully and fairly litigate

24     this case and bring it to a jury.        I've explained to him that

25     any other questions about his compliance with court orders
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 1     could cost him my representation of him, because it'll raise

 2     questions about my credibility.

 3                And, candidly, there was discovery mishap in the

 4     Jones case that in state court had cost me a suspension that

 5     is still being litigated in the appellate courts.           I'm

 6     uniquely sensitive to these issues, and Mr. Khan knows it.

 7                So his intentions are to obey your orders, but to

 8     fight hard to vindicate his claims.

 9                MR. SCONZO:    Judge, may I be heard just briefly.

10                THE COURT:    Of course.

11                MR. SCONZO:    I see an merging notion in this case

12     that Mr. Khan was vindicated.         Mr. Khan was found "not

13     guilty" in a criminal standard, in a criminal court.             Nothing

14     has been decided in a civil context, and I want to make that

15     clear.   Mr. Khan was dismissed from Yale on a standard far

16     different than a criminal process for rape, and he has not

17     proven that my client lied, and I need to put a stop to this

18     notion I see building momentum that he's been vindicated.

19                He's not be vindicated of anything, Judge.           The only

20     charge he's been absolved of by a jury is that the State did

21     not prove beyond a reasonable doubt that he raped my client.

22     That is it.    The rest is yet to be determined.

23                THE COURT:    All right.     I agree.   And I think that

24     that puts a finer point on the concerns that I have.             I mean,

25     obviously, Mr. Pattis, I'm sure you're going to have a
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 1     conversation with your client about his own exposure as he

 2     publicly accuses, outside the confines of a courtroom, when

 3     he publicly accusing her of a false accusation.

 4                 What I don't want -- because Mr. Sconzo is correct .

 5     This case is going to be decided on the basis of the

 6     allegations, presumably to a jury who will have to make a

 7     determination not beyond a reasonable doubt, but by a

 8     preponderance of the evidence whether or not it was a false

 9     accusation.

10                 And we will get the case there.      We had a few starts

11     and stops as it bounced around various appellate courts.              It

12     found its way back.       But what I don't want, I don't want the

13     case litigated on X or on Youtube or on TikTok.           That just

14     can't happen.     That starts to infect the entire process, and

15     if I -- and I think I do have a legitimate concern that that

16     might be on Mr. Khan's list of things to do, in terms of

17     having his viewpoint out there in the world repeated to the

18     Jane Doe's detriment, at a time when nothing has been

19     decided.     That's what I'm concerned about.

20                 MR. PATTIS:   So, Judge, I understand the Court's

21     concerns.     And this was a subject of litigation, on the basis

22     of a special public interest appeal to the Connecticut

23     Supreme Court in the case of State of Connecticut v. Fotis

24     Dulos, and I would ask you to consider looking at the briefs

25     there.     That was a case involving the serious death of a
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 1                MR. PATTIS:     Thank you, Judge.

 2                (Proceedings conclude, 10:35 a.m.)

 3

 4                              C E R T I F I C A T E

 5                           RE: Khan v. Yale, et al.
                            Civil No. 3:19-cv-1966-KAD
 6
                                   Motion Hearing
 7                                 March 18, 2024

 8

 9           I, Tracy L. Gow, RPR, Official Court Reporter for the

10     United States District Court, District of Connecticut, do

11     hereby certify that the foregoing pages, 1 through 26, are a

12     true and accurate transcription of my shorthand notes taken

13     in the aforementioned matter to the best of my skill and

14     ability.

15

16                              Isl TRACY L. GOW
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